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                           About APF
An independent, nonprofit organization serving people
 with pain through information, advocacy and support


                  Education
                  & Support                 Advocacy

                             Research
                             Promotion
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  Executive Board of Directors
 President & Chairman                             Secretary
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   UC Davis Medical Center                         Treasurer
 Vice-Chair                                           Malene Davis, MBA, MSN, RN,
   Mary Vargas, J.D.                                     CHPN
                                                       CEO and President
   Disabilities Attorney                               Capital Hospice
   Pain Community Advisory
     Council
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                                                                  American Pain Foundation
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                                                                  Director: Pediatric Pain Program
Sr. Scientist, Director of U.S. Program
                                                                  Mattel Children’s Hospital @ UCLA
Pain & Policy Studies Group
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                                                                  Arcion Therapeutics
Michael J. Hanewich
Silicon Valley Bank

Malcolm Herman, Esq.
Attorney, Private Practice
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           Vision and Mission
Vision: To eliminate pain as a major public health
  problem.

Mission: To educate, support and advocate for
 people affected by pain.

Strategic Vision: APF is 2 million supported and
  supportive members.
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                                Advocacy
 Pain Care Forum: Principal organizer and leader of 62
    member organization coalition committed to improving
    federal pain policy
   American Pain Foundation Action Network: National
    Advocacy Network of educated and trained advocates
   Washington State Advocacy Focus
   Principal organization in the newly formed State Pain
    Policy Action Coalition
   “The Pain Project”: To be launched in 2012. A viral
    strategy for building a pain movement, gathering vital
    data, targeting advocacy and educational actions

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•62 Member organizations representing patients, nurses,
pharmacists, doctors, hospice, abuse community, pain
education, medical ethics, and pain policy
• Task Forces: a) REMS, B) Acetaminophen, C) Legislative,
D) IOM Task Force
   • Each with Action Sub-committees
•REMS Task Force: 35 organizations:
   • Created coordinated messaging to the FDA
   • Active presence at public meetings
   • Over 2,500 responses to the FDA Docket
     •   APF Public Petition had over 4,000 submissions
   • 4 sub-committees---Legislative, Congressional Strategy, Messaging, and
     Data Points

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                    Pain Care Forum
 Acetaminophen Task Force: 16 organizations:
    Produced and disseminated messages regarding the FDA
     Advisory Committee acetaminophen recommendations
    Generated over 250 responses to the FDA Docket
    APF Public Petition:
     (http://www.thepetitionsite.com/petition/362024837
        Generated over 3,200 submissions in 3 weeks
   3 subcommittees---Scientific Meeting, Icon, and Education
       Ongoing education and strategizing



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Legislative Strategy Committee
 Successfully passed the Veteran’s Pain Bill in 2008; the
  Military Pain Bill in 2009; and the provisions of the
  National Pain Care Policy Act in 2010
 The Veteran and Military Pain Bills require VA and DOD
  require each to develop comprehensive pain treatment
  plans to be implemented and progress reported to
  Congress annually
 The NPCPA provisions include: a) IOM Conference and
  Report; b) NIH Research Plan and Interagency Advisory
  Committee; c) HRSA Training and Education Grants
  Program
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                    IOM Task Force
Task Force Actions:
 Distributed information about IOM Report to 800+
  organizations
 Engaged and continues to work with the CDC to
  implement CDC recommendations in IOM Report
 Commitment from Senator Harkin to hold a HELP
  Committee Hearing on the IOM Report
 Committed to long-term work to promote
  implementation of IOM recommendations

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                                  Grassroots In Action
 APF Action Network: http://www.painfoundation.org/take-action/action-
  network/
    Combined force of trained persons living with pain and healthcare
     professionals
    Database of over 40,000 available to take action

 Activities:
    Advocacy actions at state and national levels
    Public awareness activities
    Focus on activities during Pain Awareness Month (PAM)

 Action Network Summit
    Training and Alliance Building of action leaders AND advocates from over
     17 national organizations

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Online Advocacy Center
Targeted Actions For Results
2010 State Alert/Announcement Summary
Total # of Alerts – 75
        Focus included:
       Step Therapy & Therapeutic Switching
       Worker’s Compensation/Chronic Pain Guidelines
       Washington State Policy issues
       Announcements of Action Network events
       State targeted, for national effort – Shingles vaccine, IOM study
        involvement, PMDP issues, Pain Mill issues
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                 Summit 2009




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                   EDUCATION




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    Principal Educational Efforts
 Website: Thousands of pages of educational and support
    information
   Publications: Treatment Options, Exit Wounds, Is Fibro
    the Cause, Resource Guide, Bill of Rights, Describa Su
    Dolor, a dozen other
   Pain Community News and Pain Monitor
   PainSAFE
   NIPC
   Med Ed
   Community Events
   Pain Awareness Month Activities
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  Educational Initiatives (cont)
 “Spotlights On…” Breakthrough Cancer Pain, on Shingles,
 Military and Veterans Pain, Back Pain, Pain In Older
 Adults (2012)




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 APF IS THE LEADING GO-TO RESOURCE
      FOR MEDIA COVERING PAIN




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      APF IS REACHING MILLIONS—
THROUGH PROACTIVE MEDIA OUTREACH AND
 CONTROLLED COMMUNICATION STRATEGIES
 TOTAL MEDIA IMPRESSIONS IN 2010:

            405,785,000 +
                 145 media placements

 MEDIA IMPRESSIONS FIRST HALF 2011:
                         286 million +
  211 media placements and growing!
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                       Concept Overview
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           2012 to 2016
       STRATEGIC OBJECTIVES
 APF conducted an intense Strategic Planning Process in
  2010 and articulated a focus on CAPACITY
 “Capacity” means: 2 million satisfied and engaged
  members
 2 million members means:
   Significantly greater ability to help people in pain
   Significantly greater advocacy strength
   Significantly greater and more diversified funding




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               What Will It Take?
 A smart, scalable and cutting-edge campaign that
 engages large numbers and speaks directly to the
 population of people with pain and the public
 that….
   Goes OUTSIDE THE BOX
   Allows their voice to be heard
   Visibly shows the state of pain care in America
   Is highly scalable
   Creates a simple and dynamic resource/support locator
    (e.g., local support groups)
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             So What is “It?”

         The Pain Project
        www.painproject.org
        Powered by the APF


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                       Core Elements
1.   Dynamic “state of care map:” Interactive blog + mapping
     software interface allowing anyone to report on barriers
     that impede access and visibly displays state by state crisis
     facing PWPs
2.   Dynamic “support map:” Interactive blog, combined with
     social media (FB, Twitter, Meetups) establishing an
     interactive portal to connect with local supports
3.   Linkage to APF Educational and Support Services utilizing
     newly established APF Constituent Management Capacity
4.   Action oriented engagement: blogs, petitions, story telling,
     issue advocacy
5.   Full engagement of APF Action Network at local levels
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                                    Benefits
 A major engagement mechanism to attract and retain
    members
   A major resource for issue data including numbers, types
    of issues, potential advocates and spokespersons
   A major capacity to “get personal and local”
   A major resource for advocacy planning and actions
   Visible place to show the specific policy initiatives of the
    SPPAC
   Portal to connect each Action Network leader to potential
    “troops” in their states

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Cutting Through the “Noise”




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                             Outcomes
 A large-scale MOVEMENT to change pain care and policy
 Stakeholder engagement in a way we never have before
  = an engine for rapid and sustained membership growth
 Leveraging of grassroots, bottom up energy to build the
  movement, through FB, Twitter, Meetups, etc.
 Integration of core capacities of the APF (e.g., Action
  Network, CMS, Education and Support Services)
 A public “Storefront” for PWPs to be heard and find
  support

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                   DISCUSSION




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                   THANK YOU!




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